


  ST. PAUL, J.
 

  Plaintiff sues defendant for a divorce on the ground of adultery. It is shown that she spent two nights in a darkened house alone with a man who was not her husband. Her defense is that she went there only for the purpose of nursing him. But she is not’ a nurse; and is often found in company with strange men and in places of questionable character. Under the circumstances we do not believe her testimony, and think the trial judge erred in doing so.
 

  Decree.
 

  The judgment appealed from is therefore reversed, and it is now ordered that plaintiff have judgment against defendant decreeing a divorce 'between them, and dissolving the bonds of matrimony heretofore binding them. Defendant to pay all costs.
 
